                  UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                 CIVIL ACTION NO. 1:23-CV-00077

AMY BRYANT, M.D.,                       )
                                        )
            Plaintiff,                  )
v.                                      )
                                        )
JOSHUA H. STEIN in his                  )
official capacity as Attorney           )
General for the State of North          )   DEFENDANT SEC. KINSLEY’S
Carolina, et. al.,                      )   RESPONSE TO INTERVENOR-
                                        )    DEFENDANTS’ MOTION TO
            Defendants,                 )           DISMISS
                                        )
            and                         )
                                        )
PHILIP E. BERGER, in his                )
official capacity as President          )
Pro Tempore of the North                )
Carolina Senate, and TIMOTHY            )
K. MOORE, in his official               )
capacity as Speaker of the              )
North Carolina House of                 )
Representatives,                        )
                                        )
         Defendant-                     )
         Intervenors.                   )
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     Defendant Kody H. Kinsley, in his official capacity as

Secretary of the North Carolina Department of Health and

Human Services (“NCDHHS”), responds to Intervenor-

Defendants’ Rule 12(b)(6) Motion to Dismiss [D.E. 53], as

follows.




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    NCDHHS is the State executive agency that manages the

delivery of health- and human-related services for all

North Carolinians, especially our most vulnerable citizens

– children, elderly, disabled and low-income families.                  The

Department works closely with health care professionals,

community leaders and advocacy groups; local, state and

federal entities; and many other stakeholders to make this

happen.

    Part of the NCDHHS mission is ensuring that health care

is accessible for all North Carolinians, and that includes

reproductive health services.          Access to reproductive

health services has a profound impact on women’s lives and

is an essential part of comprehensive health care.              It is

also an equity issue.      Research shows that restrictions on

reproductive health care rights have harmful consequences

on individuals’ health, safety, and economic stability.

    For example, the Turnaway Study from the University of

California, San Francisco (Foster et al.) showed

restrictions on reproductive health care for women:

       • Increase the risk of poverty, not being able to

          cover basic living expenses, having a lower credit

          score, increased debt, bankruptcies and evictions;

                                   2


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        • Increase the risk of raising a child alone;

        • Increase the risk of physical violence, and

          increase the likelihood of staying in contact with

          a violent partner;

        • Increase the risk of more serious health problems,

          e.g., eclampsia, postpartum hemorrhage,

          gestational hypertension, chronic

          headaches/migraines, joint pain;

        • Increase the risk of children having to live in

          poverty, and enduring poorer maternal bonding.

See Advancing New Standards in Reproductive Health, The

Turnaway Study, UNIV. OF CAL. S.F.,

www.ansirh.org/research/turnaway-study (last visited Apr.

27, 2023).

    Research shows that restrictions to reproductive health

care can increase infant mortality 1 and are associated with


    1    Karletsos, Association of State Gestational Age
Limit Abortion Laws with Infant Mortality, American Journal
of Preventive Medicine, (Aug. 4, 2021),
https://doi.org/10.1016/j.amepre.2021.05.022 (last visited
Apr. 27, 2023). See also Krieger, Reproductive Justice and
the Pace of Change: Socioeconomic Trends in US Infant Death
Rates by Legal Status of Abortion, 1960–1980, American
Journal of Public Health, (Apr. 1, 2015),
https://doi.org/10.2105/AJPH.2014.302401 (last visited Apr.

                                   3


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higher risks of low birth weight, especially for children

born to black women. 2 Research also shows restrictions on

reproductive health care can increase maternal mortality. 3

    Reproductive health restrictions disproportionately

impact people of color, people with disabilities, people

with low incomes, and people who live in rural areas.               Id.


27, 2023); Pabayo, Laws Restricting Access to Abortion
Services and Infant Mortality Risk in the United States,
Int. Journal of Environmental Research and Public Health,
(May 26, 2020), https://www.mdpi.com/1660-4601/17/11/3773
(last visited Apr. 27, 2023).

    2    Wallace et al., The Status of Women's Reproductive
Rights and Adverse Birth Outcomes, Women’s Health Issues,
(Jan. 25, 2017), https://doi.org/10.1016/j.whi.2016.12.013
(last visited Apr. 27, 2023). See also Sudhinaraset,
Women's Reproductive Rights Policies and Adverse Birth
Outcomes: A State-Level Analysis to Assess the Role of Race
and Nativity Status, American Journal of Preventive
Medicine, (Oct. 13, 2020),
https://doi.org/10.1016/j.amepre.2020.07.025 (last visited
Apr. 27, 2023).
    3    Ronsmans, Maternal Mortality: Who, When, Where,
and Why, The Lancet, (Sept. 28, 2006),
https://doi.org/10.1016/S0140-6736(06)69380-X (last visited
Apr. 27, 2023); Latt, Abortion laws reform may reduce
maternal mortality: an ecological study in 162 countries,
BMC Women’s Health, (Jan. 5, 2019),
https://doi.org/10.1186/s12905-018-0705-y (last accessed
Apr. 27, 2023); Vilda, State Abortion Policies and Maternal
Death in the United States, 2015‒2018, American Journal of
Public Health, (Sept. 22, 2021),
https://doi.org/10.2105/AJPH.2021.306396 (last visited Apr.
27, 2021).


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Black and Hispanic women get abortions at higher rates than

their peers.     In North Carolina, black people make up 23%

of the population, but black women account for 49% of

abortions.     Latinos make up 10% of the population, but

Latina women account for 13% of abortions. 4           Black women are

more likely to have low birth weight babies in states with

more restriction to reproductive rights. 5          Women of color

experience higher poverty rates and are less likely to have

health insurance providing access to contraception, leading

to a greater occurrence of unintended pregnancies. 6             The

North Carolina Maternal Mortality Review Committee revealed

that black women were 1.8x more likely to die from




    4
         Reported Legal Abortions by Race of Women Who
Obtained Abortion by the State of Occurrence, Kaiser Family
Foundation, https://www.kff.org/womens-health-policy/state-
indicator/abortions-by-
race/?currentTimeframe=0&sortModel=%7B%22colId%22:%22Locati
on%22,%22sort%22:%22asc%22%7D (last visited Apr. 27, 2023).
    5     See Sudhinaraset, n.2, supra.
    6    See Kerby, The State of Women of Color in the
United States, The Center for American Progress, (July 17,
2012), https://www.americanprogress.org/article/the-state-
of-women-of-color-in-the-united-states/ (last accessed Apr.
27, 2023).


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pregnancy-related causes than white women in North

Carolina. 7

     Access to reproductive health services is a public

health issue.     Reducing reproductive access runs counter to

substantial evidence from public health and preventive

medicine researchers regarding the considerable health

benefits associated with access to reproductive health

services.     See citations supra.

     NCDHHS is charged with licensing of hospitals and

certification of clinics that provide abortion; denial,

suspension, and revocation of facility certifications; and

investigations of complaints relating to clinics that

provide abortion.     See Compl. [DE 1], ¶ 17; Answer of Kody

H. Kinsley [DE 41], ¶ 17; see also, e.g., N.C. Gen. Stat. §

14.45.1(a1); 10A N.C.A.C. §§ 14E .0101 et seq.             NCDHHS

believes that it is crucial to the promotion of public

health and reproductive health to follow the FDA’s expert

judgment on the conditions that are necessary to balance

drug safety, efficacy and access to mifepristone, including



     7   See North Carolina Maternal Mortality Review
Report, Dec. 2021, at 13,
https://wicws.dph.ncdhhs.gov/docs/2014-16-
MMRCReport_web.pdf (Last accessed Apr. 27, 2023).
                                   6


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those in the FDA’s 2023 modification of the Risk Evaluation

and Mitigation Strategy.       Compl., ¶ 69; Answer of Kody

H.Kinsley, ¶ 69; see also 21 U.S.C. § 355-1(a)(1) & (f).

    Within the applicable law, NCDHHS will do everything it

can to safeguard access to reproductive health services.

This is consistent with the FDA REMS requirements that the

restrictions on mifepristone must not be “unduly burdensome

on patient access to the drug” and must seek to “minimize

the burden on the health care delivery system,” 21 U.S.C. §

355-1(f)(2)(A), (C), (D).       It is equally consistent with

the agency’s mandate from the General Assembly.             See N.C.

Sess. Law 2013-366(4)(c) (directing NCDHHS to “ensure that

standards for clinics certified by the Department address

the on‑site recovery phase of patient care at the clinic,

protect patient privacy, provide quality assurance, and

ensure that patients with complications receive the

necessary medical attention, while not unduly restricting

access.”) (emphasis added).




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Respectfully submitted, this 28th day of April, 2023.


                             /s/ Michael T. Wood
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                    CERTIFICATE OF COMPLIANCE

    I hereby certify that the foregoing response complies

with Local Rule 7.3(d) because, excluding the parts of the

brief exempted by Rule 7.3(d) (cover page, caption,

signature lines, and certificates of counsel), this brief

contains fewer than 6250 words.

                                 /s/ Michael T. Wood
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